       Case 2:22-cv-01616-WBV-DMD Document 1 Filed 06/03/22 Page 1 of 9




                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

                        * CIVIL ACTION
ANDY STONE              *
                        * NO.
VERSUS                  *
                        * SECTION
MARIAH CAREY, WALTER    *
AFANASIEFF, SONY MUSIC  * MAGISTRATE
ENTERTAINMENT, AND SONY *
CORPORATION OF AMERICA  *
*************************

                     ____________________________________________

               COMPLAINT FOR COPYRIGHT INFRINGEMENT,
    UNJUST ENRICHMENT, MISAPPRORIATION AND LANHAM ACT VIOLATION
               ____________________________________________


       Plaintiff, Andy Stone, a.k.a Vince Vance, through his undersigned attorneys, allege against

defendants as follows:

                                          THE PARTIES

                                                 1.

       Andy Stone, a.k.a. Vince Vance ("Vance"), Plaintiff, is an individual of the full age of

majority and resident of the State of Mississippi, United States of America.

                                                 2.

       Mariah Carey (“Carey”), Defendant, is a person of the full age of majority and resident of the

State of New York, United States of America.

                                                 3.

       Walter Afanasieff (“Afanasieff”), Defendant, is a person of the full age of majority. Upon

information and belief, he is a resident of the State of California, United States of America.
      Case 2:22-cv-01616-WBV-DMD Document 1 Filed 06/03/22 Page 2 of 9




                                                 4.

       Sony Music Entertainment, a subsidiary of Sony Corporation of America; the North

American Division of Sony (“Sony), Defendant, is a Delaware Corporation authorized to do and

doing business in the State of Louisiana.

                                 JURISDICTION AND VENUE

                                                 5.

       Jurisdiction of this Court is based upon 28 U.S.C. Sections 1331, 1337, and 1338, and 15

U.S.C. Section 1121.

                                                 6.

       Venue is proper under 28 U.S.C. Sections 1391(b) and 1400(a).

                                                 7.

       This Court has pendent jurisdiction over the state law claims asserted herein pursuant to 28

U.S.C. Section 1367.

                                 FACTS AND ALLEGATIONS

                                                 8.

       Plaintiff, Vance is a self-employed artist in the business of performing, selling and licensing

his copyrighted music and earns his livelihood from fees received from these activities.

                                                  9.

       In 1989, Plaintiff co-wrote “All I Want for Christmas is You” and recorded it at the

Masterphonics Studio 6 in Nashville, Tennessee. It was subsequently released on the record label

Valient 92689 with an accompanying music video.

                                                10.

       After receiving extensive airplay during the 1993 Christmas season, Plaintiff’s “All I Want
       Case 2:22-cv-01616-WBV-DMD Document 1 Filed 06/03/22 Page 3 of 9




for Christmas is You” began making appearances on the Billboard Music Charts.

                                                 11.

       "All I Want for Christmas is You", is copyrightable subject matter under the laws of the

United States, and Plaintiff applied for and received from the Registrar of Copyrights certificates of

serial number therefore.



       TITLE                                                           REGISTRATION NO:

 ALL I WANT FOR CHRISTMAS IS YOU                                       Pau 1-163-343

       A copy of the serial registration is attached as Exhibit "A".

                                                 12.

       Defendant Carey’s album “Merry Christmas” was released by Columbia Records, owned by

Defendant Sony, on or about October 28, 1994.

                                                 13.

       Made a part of the “Merry Christmas” album, Defendant Carey released a version of the song

“All I Want for Christmas is You”, allegedly co-written with Defendant Afanasieff, along with

accompanying music videos.

                                                 14.

       Defendants never sought or obtained permission from Plaintiff to use “All I Want for

Christmas is You” in creating, reproducing, recording, distributing, selling, or publicly performing

said song.

                                                 15.

       Plaintiff never gave Defendants permission, consent, or a license to use “All I Want for

Christmas is You” for any purpose, including the creation of a derivative work based on “All I Want
       Case 2:22-cv-01616-WBV-DMD Document 1 Filed 06/03/22 Page 4 of 9




for Christmas is You”.

                                                 16.

       Upon information and belief, Defendants, have in the past and are presently continuing to

reproduce, and distribute to the general public worldwide via the internet and interstate commerce,

copies of Plaintiff’s work, "All I Want for Christmas is You".

                                                 17.

       Upon information and belief, as more fully set forth below, Defendants, have knowingly,

willfully, and intentionally engaged in a campaign to infringe Plaintiff’s copyright in the work “All I

Want for Christmas is You” and to commit acts of unjust enrichment by the unauthorized

appropriation of Plaintiff’s work and the goodwill associated therewith, all which are proprietary to

Plaintiff as set forth herein, to the commercial gain, personal profit and unjust enrichment of the

defendants and the irreparable injury and financial loss of Plaintiff.

                           COUNT 1 - COPYRIGHT INFRINGEMENT

                                                 18.

       Plaintiff's cause of action for copyright infringement arises under the Act of October 19,

1976, Pub.L. No. 94-553, Sec. 101; 90 Stat. 2541-98; 17 U.S.C. Sections 101-810 (1982), Section

106 (1)-(3) and (5), 501 et seq.

                                                 19.

       At all relevant times, Plaintiff was and continues to be the co-owner and proprietor of the

rights, title and interest in and to the copyright the work “All I Want for Christmas is You”.

                                                 20.

       Upon information and belief, Defendants knew or should have known of Plaintiff’s copyright

in the work “All I Want for Christmas is You”.
       Case 2:22-cv-01616-WBV-DMD Document 1 Filed 06/03/22 Page 5 of 9




                                                 21.

       Plaintiff is the owner of copyright in the work “All I Want for Christmas is You" and of the

exclusive rights to, inter alia, reproduce the copyrighted work, prepare derivative works based in

whole or in part upon the copyright works, and distribute the copyrighted works by sale, license or

otherwise, 17 U.S.C. Sections 106, et seq.

                                                22.

       Plaintiff became aware of Defendants use of his work “All I Want for Christmas is You”,

without license, right or authority, and by reproducing and distributing to the worldwide general

public via the internet and interstate commerce. Plaintiff’s counsel initially made contact with

Defendants in April of 2021 to regarding the unauthorized use of the song. Thereafter, Plaintiff’s

counsel sent a letter via certified mail on or about December 20, 2021, regarding the unauthorized

use of “All I Want for Christmas is You”, thereby putting them on notice that the creation a

derivative work, without authorization and payment to Plaintiff represents a violation of Plaintiff’s

rights under 17 U.S.C. Sections 106, et seq.

                                                23.

       Defendants’ actions have deprived Plaintiff of just compensation in association with the use

of the work “All I Want for Christmas is you”, thereby causing Plaintiff financial and professional

damage, and if allowed to continue, will cause further injury to the Plaintiff.

                                                24.

       Even after communicating the concerns with Defendants, Plaintiff was unable to come to any

agreement over usage of the “All I Want for Christmas is You”. Subsequently, Plaintiff personally

requested that Defendants cease and desist from further distribution of Plaintiff’s work. Despite

Plaintiff’s request, Defendants continue to exploit Plaintiff’s work “All I Want for Christmas is
       Case 2:22-cv-01616-WBV-DMD Document 1 Filed 06/03/22 Page 6 of 9




You”, reaping tremendous financial awards and other pecuniary benefits to the detriment of Plaintiff.

                                                  25.

        Thereafter, on April 5, 2022, Plaintiff purchased the “Merry Christmas” album incorporating

the song “All I Want for Christmas is You” from Louisiana Music Factory, located at 421

Frenchmen St., Ste. 100 New Orleans, LA 70116. In fact, Defendants’ “Merry Christmas” album,

incorporating the song “All I Want for Christmas is You”, remains available for purchase at retail

outlets throughout Louisiana, including Louisiana Music Factory, and Wal-Mart, in addition to

online marketplaces including Amazon.com.

                                                  26.

        Upon information and belief, such unlawful activities by the Defendants constitute willful

infringements of Plaintiff’s copyright, and upon information and belief, were committed in disregard

of Plaintiff’s rights.

                                COUNT II - STATE LAW CLAIMS

                         UNJUST ENRICHMENT AND MISAPPROPRIATION

                                                  27.

        Plaintiff repeats and realleges the allegations of Paragraphs 1 through 26.

                                                  28.

        The actions of Defendants as more fully set forth above in Paragraphs 1 through 26,

contribute to falsely representing and marketing Plaintiff’s work “All I Want for Christmas is You”

as their own, constituting a misappropriation of the work, all to the commercial gain of Defendants.

                                                  29.

        Specifically, the false representation of professional collaboration and association, the failure

to give notice to the public that Plaintiff is the owner of the work and, that Plaintiff does not endorse
       Case 2:22-cv-01616-WBV-DMD Document 1 Filed 06/03/22 Page 7 of 9




the Defendants’ endeavors, and other acts more fully described above. These actions have resulted

in confusing the public in addition to resulting in a substantial loss of income to plaintiff and the

unjust enrichment of defendants.

                            COUNT III- LANHAM ACT VIOLATION

       Plaintiff repeats and realleges the allegations of Paragraphs 1-29.

                                                 30.

       Plaintiff’s claim arises under the Lanham Act of July 5, 1946, 15 U. S. C. sections 1051-

1127, particularly Section 43(a) of the Lanham Act, 15 U.S.C Section 1125(a).

                                                 31.

       Defendants, have in the past and continue to use in connection with their commercial services

and merchantable goods Plaintiff’s work in interstate commerce, contributing to the false and

misleading representation of that has resulted in financial loss to Plaintiff.

                                                 32.

       Upon information and belief, Defendants’ acts were designed to exploit the popularity and

unique style of Plaintiff, causing confusion as to the association of Defendants and Plaintiff,

endorsement, sponsorship, and approval of Plaintiff’s work. Defendants’ unauthorized use of the

“All I Want for Christmas is You” in association with their exploitation of the derivative work acts

to capitalize on the goodwill and unique talent of Plaintiff in an effort to obtain commercial

advantage.

                                                 33.

       Upon information and belief, Defendants committed the actions referenced in the above two

paragraphs willfully and in absolute disregard of Plaintiff’s rights.

                                                 34.
       Case 2:22-cv-01616-WBV-DMD Document 1 Filed 06/03/22 Page 8 of 9




        Upon information and belief, Defendants have reaped undeserved profits from these

activities.

                                                  35.

        Defendants’ aforesaid unlawful acts have damaged and continue to damage Plaintiff.

        WHEREFORE, Plaintiff, demands judgment, jointly and severally against the Defendants as

follows:

        1. An award to Plaintiff of the profits, gains and advantages derived by the Defendants as a

result of willful copyright infringement, in addition to punitive damages and compensation for the

damages sustained in an amount not less than $20,000,000.00;

        2. An award to Plaintiff of the profits, gains, and advantages derived by the Defendants

and/or damages in an amount not less than $20,000,000.00 sustained by Plaintiff as a result of the

acts of the Lanham Act, unjust enrichment, and misappropriation recited above;

        3. An award to Plaintiff of damages in an amount not less than $20,000,000.00 sustained by

Plaintiff as a result of Defendants acts of misappropriation and unjust enrichment.

        4. That Defendants pay to plaintiff all costs of this action and reasonable attorney's fees to be

allowed to the Plaintiff by the Court;

        5. That Plaintiff have such other and further relief as is just and proper.

                                                        Respectfully submitted,


                                                        /s/ Douglas M. Schmidt_________
                                                        Douglas M. Schmidt (Bar No. 11789)
                                                        335 City Park Ave.
                                                        New Orleans, LA 70117
                                                        Telephone: (504) 482-5711
                                                        Email: boris1s2002@yahoo.com
                                                        Withhold Service

                                                        /s/ Andrew C. Abrams
      Case 2:22-cv-01616-WBV-DMD Document 1 Filed 06/03/22 Page 9 of 9




                                        Andrew C. Abrams (Bar No. 32280)
                                        935 Gravier St., Ste. 900
                                        New Orleans, LA 70118
                                        Telephone: (504) 799-4200
                                        Email: aca@obryonlaw.com
                                        Withhold Service



Withhold Service:

Walter Afanasieff
c/o Isina Academy
637 S. Fairfax Ave., Apt. 102
Los Angeles, CA 90036

Sony Corporation
SCA Legal Department
25 Madison Ave., Fl. 26
New York, NY 10010

Stuart Prager
152 West 57th Street,
New York, NY 10019
